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UNITED sTATES'DT§TmCT COURT * l L`
FOR THE NoRTHERN DIS]T_RICT 0F ILLINols
EASTERN"”D‘“IVISION `_ 4 200

THURMAN PAUL as the CLEH lc'L’**l"=`L W, 2
Administrator of the Estate of NO:Ol C 1925 , U' S- D/STD BB//VS
CEDRIC A. PAUL, deceased and me coup
DONTE GARDNER, individually ‘T

Plainiiff(S), ._

_ Judge Alesia
VS.

CITY OF EVANSTON OFFICERS _.
LARRY DAVIS, M. DOBROWOLSKL JURY I)EMANDED

 

BIONI, LEAKS, AL¢BANX“CARB
cEN_TER, RlDGELY COGIII"IIAN,
JOLYNN THILGES LOUISE I-IULL,
DIANNE RENEE LABAI-IN, KAREN
MADDA, WILLIE CANGA, DENISE
SCHNELLE, QE_NNIS TOSSI,
CONSOLIDATED MEDICAL
TRANSPORT,INC.__;(_;OMED)
TRANSPORT AMBULANCE,
Paramedics JAMES A. RODRIGUEZ
and BR_IAN Y. PEDROZA,

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Defendant($).

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1. The jurisdiction of this Court is invokemdpursuant to the Civil Rights Act, 42
U.S.C. 1983 and 1988; 28 U.S.C. 1331and 1343(3); and the Constitution of the
Unitecl States, and supplemental Jur1s:der l den under 28 U.S.C. Section 1367.

2. Plaintiff Thurman Paul sues as the Addl_l;jlsuator of the Estate of Cedric Paul.

 

Plaintiff Donte Gardner sues on his _0_ :.behalf. Thurman Paul is the natural

 

brother Of Cedric Paul. Donte Gardr;e;_';iiés€'tl'le natural son of Cedric Paul.

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10.

 

Cedric Paul was, at the time of his death l a 37 year old African American man,a

 
 
   

citizen of the United States and a reside '_of the City of Evanston.
Police Oft`icers L. Davis #124, M. D_o n "'olski #128, Bioni #256 and Leaks
#224, were employed by the City of E;; ston. All defendants were at all times

relevant to this Complaint, acting Within__the scope of their employment and under

   

color of law. All defendants are bein

Defendant City of Evanston is a mun ., al corporation within the State of Illinois,

 

and Was, at all times relevant to this Complaint the employer of Defendants
Ot`t`icers L. Davis, M. Dobrowoski, ]3101!11ll and Leaks.

Defendant Albany Care Center is a corporation within the State of Illinois, and
was, at all times relevant to this Complaint the employer of Coghlan, Hull,
Labahn, Maclda, Canga, Schnelle, Thilges, and Dennis Tossi.

Defendants Albany Care Center ls a Corporation Within the State of Illinois, and

 

Transport. At all times relevant to this :_:omplaint, they Were acting Within the

 

scope of their employment
Defendant Consolidated Medical Tran_sport, lnc., (hereinafter “COMED
Transport”) is a corporation Within theMS,ntate Of Illinois, and was, at all times
relevant to this Complaint, the employerof James A. Rodriquesz and Brian Y.

Pedroza.

FA¢T_s

 

Cedric Paul resided at the mental heal-lt“li:care facility, Albany Care Center

(hereinafter) “Albany”, in Evanston, Illinois.

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Albany maintained, during all times relevant to this action, a policy, reffered to as

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“code yellow to provide a safe and.therapeutic environment.” According to this
policy, Albany employees or agents Were instructed to use non-physical
interventions to redirect a resident experiencing agitation and agressive behavior.
Albany’s policy further instructs that physical interventions may only be
implemented if all non-physical interventions have failed and the risk of danger to
resident or others is great

On July 13, 2000, Mr. Paul sought assistance regarding a radio dispute from
Albany employees including, Karen Madda, Louise Hull, Willie Canga, Ridgley
Coghlan, and other Albany employees, __but no assistance was provided.

Instead of providing assistance to Paii_l:,___:_a_t approximately 4:10-4:15p.m., a “code
yellow” was called summoning Albany' employees to the seventh floor to calm
PauL

At approximately 4:30p.m., Albany employees administered a shot of Ativan to
calm Mr. Paul. Shortly after receiving-j`_the Ativan, Paul did calm down and
complied with directions by Albany employees, to sit in the day room.

Although Paul had been calm and no longer agitated for over two-hours,
defendants Tossi directed Coghlan, Thilges, Hill, Labahn, Madda, Conga and
Schnelle Albany employees, alone with C_OMED agents, Rodriquez and Pedroza,
and Evanston police officers Davis, Dohrowolsl<i, Biondi and Lcaks, converged

on the Seventh floor and advised Paul_that they were committing him to the

hospital

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When the paramedics and police arrived at approximately 6:40 p.m., Paul was
sitting quietly in the day room until approached about being committed at which
time he again explained his radio sitp,§_tion. Officers L. Davis, M. Dobrolski,
Biondi, and Leaks, Paramedics James`_A. Rodriquez and Brian Y. Pedroza and
Albany staff employees Hull, Tossi, M_-adda, Labahn, Coghlan, Schnelle, Canga
and Thilges, all of whom blatantly disregarded the fact that Paul had been calm
for over two-hours, encouraged police and paramedics to wrestie Mr. Paul to the
ground.

Mr. Paul was then placed in a choke hold by Defendant Officer Davis with help
from Defendant Oft`icers M. Dobrolski,' Biondi, Leaks and paramedics James A.
Rodriguez and Brian Y. Pedroz.

As a result, Mr. Paul’s wind pipe wash-broken He was subsequently transported to

Saint Franeis Hospital where he was pronounced dead at 7 :20 p.m.

COUNT I
(42 U.S.C. sec. 1983 Excessive Force)
Plaintiff realleges paragraphs l through 18 above as though fully set forth herein.
The unjustified excessive force used by Evanston Police Officers Davis, M.
Dobrolski, Biondi, and Leaks was the_.idirect and proximate cause of Plaintiff’ s
death. These acts by all of the Evanston Police Defendants violated Plaintift` s
Fourth Amendment right to be free front unreasonable seizures; and 42 U.S.C.

1983. 1111111 _

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WHEREFORE, Plaintiff demands $l ,Q'O0,000 in compensatory damages against

these Defendants because these Defendants aat§__d_ maliciously, willfully and/or wantonly,

$50,000 in punitive damages against Defendant§y plus costs, attorneys’ fee, and such

other additional relief as this Court deems equitable and just

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(42 U.S.C. Section “`1':9_'8'3 Conspiracy)

1-18. Plaintiff realleges paragraphs l through 18 above as though fully set forth herein.

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Defendant Dianne Renee Labahn summoned employees Louise Hull, Ridgely.
Coghlan, Jolynn Thilges, Karren Madda, "Willie Canga, Denise Schnelle and
contacted Administrator Dennis Tossi:to_i_ determine how to handle the situation
Although Paul had been calm for ovef:tlliib-hours, Tossi and the other employees
decided to call CoMed to transport MrPaul to the hospital. Albany Care Staff
also called The Bvanston Police to intervene in the matter.

Defendant Ofticers L. Davis, M. Dobrowlski, Biondi, Leaks, Corned Transport
employees J ames A. Rodriquez andBrian-Y. Pedroza, and Albany Care
employees Dennis Tossi, Louise Hull,”Dianne Renee Labahn, Coghlan, Madda,
Canga, Schnelle and Jolynn Thilges réa_chéd an understanding and agreement that
l\/lr. Paul should be restrained and transported to the hospital

Defendant Officers L. Davis, M. Dobrowlski, Biondi, Leal<s and CoMed
Transport employees James A. Rodridiiez and Brian Y. Pedroza forced Mr. Paul
into a choke hold and crushed his windpipe. The defendants course of conduct

caused Mr. Paul’s death.

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Each defendant did reach this underslanding and agreement, and did engage in
this course of conduct with the mutual_"purpose, obj ective, and knowledge that it
would deprive Cedric Paul of his right`§‘,"" privileges and immunities, as guaranteed
by the Constitution and laws of therUi_t_iil-:ed States.

Additionally, said conspiracy/j oint action violated Cedric Paul’s Fourth
Amendment rights, under color of law,in violation of 42 U.S.C. Section 1983,
and was a direct and proximate causeofhls death.

Acting in furtherance of this plan and ,co'r'_ispiracy, all of the Defenclants committed
overt acts, including, but not limited-till5 the unjustifiable seizure as more fully
alleged in paragraphs 1-18. This course of conduct by the Defendants was done
willfully, maliciously, intentionally,- orwith reckless disregard, and directly and
proximately caused the death of Cedrici__l’laul.

WHEREFORE, die Plaiaiiifdamaad§':ai;ooo,ooo ia compensatory damages

against all Defendants, and because all Defen_dants acted maliciously, willfully and/or

wantonly, $35,000 in punitive damages, plusi`costs, attorney fees, and such other

additional relief as this Court deems equitabl_e_;and just.

CoUi\Ti 111
(42 U.S.C.1983 - Donte,§ai;dner’s Loss of Society)

1¢18. Plaintiff realleges paragraphs 1 through.l 8 as though fully set forth herein.

19.

Cedric Paul, violated and deprived thé:l:l?ourteerith Amendment right and liberty
interest of Donte Gardner in the continued:society and companionship of his

father.

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20. Defendants’ acts were the direct and proximate cause of the injuries suffered by
the Plaintiff. l
WHEREFORE, the Plaintiff, seeks $1,000,000 in compensatory damages against

the Defendants to be compensated for injuries caused by their intentions willful,

wantonly, and unconstitutional acts; $50,000 i"r:i:punitive damages against each

Defendant; attorney’s fees and costs; and any:':ad_;ditional relief this Court deems just and

equitable

coUN"T `iv
(Liabiiiiy ar Aibany Care cancer Under
Doctrine of Negligent Undertaking to R_ander Services And Wrongful Death)
1-18.Plaintiff realleges paragraphs 1 through 13 as though fully set forth herein.

19. Defendant Albany Care Center undertdiik; for consideration, the duty to render
services of convalescent care to Cedric..l’aul.

20. In rendering these services, Albany Care_._'Center employees Louise Hull, Dianne
Administrator Dennis Tossi failed to ex_"e"r"cise reasonable care as necessary for the
protection of Cedric Paul. l l

21. Moreover, Albany failed to follow its own policy of not engaging in physical
intervention against non-aggressive orr__agitated residents

22. The failure of the Albany Care employees to exercise reasonable care increased
the risk of harm to Cedric Paul. _ l

23. Cedric Paul suffered harm because heie_lied on the duty of Albany Care Center to
exercise reasonable care in the rendering of services.

WHEREFORE, Plaintiff Donte Gardner demands compensatory damages in
excess of $50,000 against the defendants, thecosts of this action, and such other relief as
this court deems just and equitable n n

..____.COUNT :V
(Liability of doll/led Under

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Doctrine of Negligent Undertaking to Render Services And Wrongful Death )

1»18. Plaintiff realleges paragraphs 1 throughlmSas though fully set forth herein.

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Defendant Comed voluntarily undertodl;the duty to render services of medical
transport for Cedric Paul. l

In rendering these services, unknown('jh“l\"/Ied Brian Y. Pedroza and J ames A.
Rodriguez failed to exercise reasonabl;e:;are as necessary for the protection of
Cedric Paul.

The failure of the CoMed employees to1e`xercise reasonable care increased the risk
of harm to Cedric Paul.

Cedric Paul suffered harm because he:.'r:e_lied on the duty of CoMed to exercise

reasonable care in the rendering of services

WHEREFORE, Plaintiff Donte Gardner___demands compensatory damages in

excess of $50,000 against the defendants, thecosts Of this action, and such other relief as

this court deems just and equitable

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CoUN_'I"_vi
(Wrongful Death Claim Under llliiicis Law Against Defendants)

Plaintiffs allege and reallege paragraphs 1 through 18 as though fully set forth
herein.
Decedent was and is survived by one Adult son.
r)aaadaai cadiia Paul was africiaiiy`p;`:dj;iiaunaad dead aa iuiy 13, 2000 ai saiai
Francis Hospital in Evanston, Illinois._j,; '
Donte Gardner, beneficiary and next of__kin of Cedric Paul, exercised due care at
all times material to this complaint n
The wrongful death due to the negligent,and or willful and wanton misconduct of
the Defendants, proximately caused”th:e:i:njury and death of Decedent Cedric Paul,
iii vioiaiiaii ar 111. Rav. s1ai.oh.70, saa i,_z.

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23.

Each and every next of kin, as named,in_,_or referred to in paragraph 19 has lost and
will continue to lose pecuniary support"a‘isa proximate result of the wrongful death
of Cedric Paul. _ _

WHEREFORE, Plaintiff Donte Gardnendemands compensatory damages in

excess of $50,000 against the defendants, the costs of this action, and such other relief as

this court deems just and equitable

CouN_j_T”"`ttii
(State Claim for Respondeat Superior)

1-1s.P1aihiiif roauogos paragraph 1 through isas though fahy sai forth hosoia.

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20.

Tho city of Evansioh, was at ali iimos;iiaiovahi to tha Piaiadfrs claim, iho
employer of officers, Larry Davis, M. l)o_browlski, Biondi, and Leaks who were
acting within the scope of their employment as Evanston Police Officers when
they used excessive force against the Plaintiff

The Defendant City of Evanston as principal is liable for the willful and wanton
actions of its agents under the doctrine-lof Respondeat Superior.

WHEREFORE, the Plaintiff demands,_.in_excess of $100,000 in actual and

compensatory damages against the defendant City of Evanston, the costs of this action,

and such other relief as this Court deems just"_a:nd_ equitable

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COUNT VIII

(Respondeat Superior Cl"a`"i`ni CoMed Transport)
Plaintiff realleges paragraph l through 18 as though fully set forth herein.
CoMed Transport, was at all times relenant to the Plaintiffs claim, the employer
of presently unknown employees, BriaiiY Pedroza and J ames A. Rodriguez, who
were acting within the scope of their employment as CoMed Pararnedics when
they provided negligent assistance to l_\i/_lr".._'Paul.
The Defendant CoMed Transport as principal is liable for the negligent actions of

its agents under the doctrine of respondeat superior

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WHEREFORE, the Plaintiff demands_ir:i'_excess of $100,000 in actual and
compensatory damages against the defendant 57 BMed Transport, the costs of this action,
and such other relief as this Court deems just and :`t-_:_quitable.

CoUNf_:IX
(Respondeat Superior Clailti_:for Albany Care Center)

1-1 3.Plaintiff realleges paragraph 1 through 13as though fully set forth herein.

19. Albany Care Center, was at all times relevant to the Plaintiff’s claim, the
employer of presently unknown employees, Dennis Tossi, Karen Madda, Denise
Schnelle, Louise l-Iull, Ridgely W. Coghlan, and Jolynn Thilges who were acting
within the scope of their employment `as,\-Albany Care employees when they
violated their policy of non»intervention,and caused the Evanston Police and the
Comed employees to attack Paul causing his death.

20. The Defendant Albany Care Center asprincipal is liable for the actions of its
agents under the doctrine of responda_a:t';`superior because employees Louise Hull,
Ridgely W. Coghlan, Jolynn Thilges, hdadda, Schnelle, Labahn and Dennis Tossi
beached it, duty to care for Mr. PaulbyM:i;_iolating its non-intervention policy,
thereby, causing Evanston Police and”é_o*Med employees to attack Mr. Paul.
wHEREFoRE, the Plaintiff domaadsii_l;ifasooss of s100,000 ih actual and

compensatory damages against the defendant glbany Care Center, the costs of this action,

and such other relief as this Court deems justand equitable

PLAINTIFF DEMANDS TRIALBY JURY oN ALL coUNTs

Datod: 3 ' Rospootruiiy submitted

Demitrus Evans
Attomey for Plaintiff

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